        Case 5:24-cv-00573-XR          Document 24       Filed 01/06/25      Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION



 MARK ORTEGA, INDIVIDUALLY AND
 ON BEHALF OF ALL OTHERS                         §
 SIMILARLY SITUATED;                             §
                                                 §
        Plaintiff,                               §      Civil Action No. SA-24-CV-00573-XR
                                                 §
 v.                                              §
 CORNERSTONE AUTO PROTECTION                     §
 INC., CALL HANDLES, LLC,                        §

       Defendants.
                        ORDER SETTING STATUS CONFERENCE

        On this day the Court considered the status of this case. This case is set for an in-person
status conference and hearing on all pending motions, if any, on Thursday, February 06, 2025 at
10:30 a.m. in Courtroom H, United States Courthouse, 262 West Nueva, San Antonio, Texas
78207. If the parties wish to proceed via Zoom, they must notify the Courtroom Deputy, Sylvia
Fernandez, at least 48 hours in advance. The parties should be prepared to discuss all pending
motions.

       It is so ORDERED.

       SIGNED January 6, 2025.




                                                     XAVIER RODRIGUEZ
                                                     UNITED STATES DISTRICT JUDGE
